	

                               NO. 07-10-0501-CV
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	JUNE 14, 2011
	______________________________

	MICHAEL MALONE d/b/a MICHAEL MALONE STUDIO,
                          And WKMC ARCHITECTS, INC.,
                                       
				Appellants
                                      V.
                                       
                             BARNES JEWELRY, INC.,
				Appellee
                        ______________________________

	FROM THE 251ST DISTRICT COURT OF POTTER COUNTY;

	NO. 95,078-C; HONORABLE ANA ESTEVEZ, PRESIDING
                         _____________________________

                            ORDER DISMISSING APPEAL
                            _____________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
Appellants have filed a motion to dismiss.  Without passing on the merits of the case, we grant the motion pursuant to Texas Rule of Appellate Procedure 42.1(a)(1) and dismiss the appeal.  Having dismissed the appeal at appellants' request, no motion for rehearing will be entertained, and our mandate will issue forthwith.
						Brian Quinn
						Chief Justice
